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EXhibit 26

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNI'I`ED STA'I`ES SECURITIES AND EXCHANGE

COMMISSION,
Civil No. l:l7-CV-04l79-DLC

Plaintiff,
Honorable Judge Denise L. Cote
v. Magistrate Judge Ronald L. Ellis

ALPINE SECURITIES CORPORATION,

Defendant.

 

 

DECLARATION OF MARANDA FRITZ IN SUPPORT OF ALPINE’S
MEMORANDUM IN OPPOSITION TO THE SEC’S MOTION F()R PARTIAL
SUMMARY JUDGMENT

I, Maranda Fritz, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury under
the laws of the United States of America that the following statements are true and correct:

l. My name is Maranda Fritz and I am a resident of the State of New York, am over
18 years of age, and make the statements herein based on my personal knowledge

2. I am legal counsel for Alpine Securities Corporation (“Alpine”), the above-named
Defendant in its action against Plaintiff United States Securities and Exchange Commission
(“SEC”).

3. Alpine has submitted a set of exhibits in support of its Memorandum in
Opposition to the SEC’s Motion for Partial Summary Judgment, Which are listed in Alpine’s
Response to the SEC’s Statement of Material Facts and Staternent of Additional Material Facts.

4. Exhibit 2 is a true and correct copy of an excerpt from a book entitled “Broker

Dealer Regulation.”

5. Exhibits 4-5, and 15-17 are true and correct copies of documents from Alpine

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which have been produced to the SEC in this case.

6. Exhibits 14 is a true and correct copy of a letter, dated December 22, 2107, from
the SEC to Alpine’s legal counsel.

7. Exhibit 25 is a true and correct copy of the SEC’s response to Alpine’s Request
for Production.

8. Exhibits 3, 6-13, 18, and 20-23 are true and correct copies of form, publications

and speeches publicly and readily available on websites maintained by FinCEN and FINRA.

WHEREFORE, I declare under penalty of perjury that the foregoing is true and correct.

DATED this 19th day of January, 2018.

/s / Maranda Fritz
Maranda Fritz
[ electronically signed with permission ]

